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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF FLORIDA



  LA ROSA FRANCHISING, LLC and
  LA ROSA REALTY, LLC,                                    CASE NO:6:21-CV-1660-ACC

                   Plaintiffs,
  v.

  ANA IVELISSE MORALES and
  LA ROSA REALTY PUERTO RICO, PSC,

                   Defendants.

  _________________________________________/

            APPLICATION FOR ENTRY OF CLERK’S DEFAULT

       Pursuant to Local Rule 1.10 of the United States District Court for the Middle District

  of Florida and Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiffs file this

  Application for Entry of Clerk’s Default against both Defendants, and state that:

       1.   Plaintiffs make application to the Clerk of this Court for entry of default as

  to both Defendants pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.

       2. Plaintiffs served the Defendants via the Florida Secretary of State, pursuant to

  Sections 48.161 and 48.181 of the Florida Statutes. On or about April 26, 2022, the

  Secretary of State of the State of Florida accepted service of process on behalf of each of

  the Defendants. Proof of such service was filed with the Court. As required by Sections

  48.161, 48.081 and 48.19, a copy of the Secretary of State's acceptance of the Complaint

  and summons was sent by registered or certified mail to each of the Defendants including

  the Complaint and Summons for each Defendant on May 11, 2022. Defendants failed to

  accept and return acknowledgement of the mailing of the notice of service, Complaint
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  and Summons. The Defendants are concealing their whereabouts and Plaintiffs exercised

  due diligence in attempting to locate the Defendants Chapman, Chapman v.

  Sheffield, 750 So.2d 140, 143 (Fla. 1st DCA 2000). In other words, the failure of delivery

  of service is attributable to the Defendants. See Robinson v. Cornelius, 377 So.2d 776,

  778 (Fla. 4th DCA 1979). Jennings v. Montenegro, 792 So. 2d 1258, 1261 (Fla. Dist. Ct.

  App. 2001).

     3. Defendants had until June 1, 2022, to respond to the Complaint and to date, the

  docket reflects that no responsive pleading or request to extend the time to respond have

  been filed by the Defendants and the time to do so, as provided in Rule 12(a), Federal Rules

  of Civil Procedure, has expired. Neither Defendant has made any effort to contact the

  Plaintiffs or the undersigned in response to this matter and are in default as to the Complaint

  and Summons.

     4.      Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, when a party

  against whom a judgment for affirmative relief is sought has failed to plead or otherwise

  defend, and that failure is shown by affidavit or otherwise, the Clerk should enter the party's

  default.

          Wherefore, Plaintiffs La Rosa Franchising, LLC and La Rosa Realty, LLC, request

  that the Clerk enter a default as to Defendants, Ana Ivelisse Morales, and La Rosa Realty

  Puerto Rico, PSC on the Complaint.
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         Respectfully submitted this 6th day of June 2022.



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                               CERTIFICATE OF SERVICE
         The foregoing was served via registered mail to the last known address of each
  Defendant on June 6, 2022.
